 Case 3:17-cv-00072-NKM-JCH Document 1398 Filed 11/04/21 Page 1 of 6 Pageid#: 24147




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                                               November 4, 2021




          BY ECF

          The Honorable Norman K. Moon
          United States District Court
          Western District of Virginia
          255 West Main Street
          Charlottesville, VA 22902


                                Re: Sines et al. v. Kessler et al., No. 3:17-cv-00072 (NKM) (JCH)

          Dear Judge Moon:

                  We write to notify the Court of certain steps Plaintiffs are taking as part of a
          broader effort to streamline the trial. As Plaintiffs’ have previously noted, we are
          mindful of the trial calendar and seeking ways to efficiently present our evidence. Trial
          Tr. at 12:24-13:09 (W.D. Va. Nov. 2, 2021) (Ms. Kaplan). To that end, Plaintiffs have
          carefully reviewed their witness list and have decided to no longer call the following
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                                                                                                   2



      witnesses: Jessica Alvarado, Brennan Gilmore, David Weiss, Clark Baumbusch, Frank
      Gwathmey, Martha McCoy, Rebekah Menning, Brant Meyer, Robert O’Connor, Andrea
      Roberts, Larry Sabato, Sanjay Suchak, and Tyler Yutzy. In addition, Plaintiffs intend to
      limit the direct examination of the remaining Plaintiffs to approximately thirty to forty-
      five minutes each.




                                                                  Very truly yours,



                                                                  ________________________

                                                                  Karen L. Dunn
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Case 3:17-cv-00072-NKM-JCH Document 1398 Filed 11/04/21 Page 4 of 6 Pageid#: 24150




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                                          Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 1398 Filed 11/04/21 Page 5 of 6 Pageid#: 24151




                                  CERTIFICATE OF SERVICE

                 I hereby certify that on November 4, 2021, I filed the foregoing with the Clerk of
   Court through the CM/ECF system, which will send a notice of electronic filing to:


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    Worker Party, National Socialist Movement,      Worker Party
    and Nationalist Front
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         I hereby certify that on November 4, 2021, I also served the following non-
   ECF participants via mail or electronic mail:

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    c/o Dillon Hopper
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    Dated: November 4, 2021




                                                                   Very truly yours,



                                                                   ________________________

                                                                   Karen L. Dunn
